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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,
 vs.                                                                Cr. No.: 18-10015-STA


 CHRISTOPHER PEDEN

                       Defendant.


             ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE
             CHANGE OF PLEA HEARING AND NOTICE OF RESETTING


        This cause came on upon the motion of the Defendant to continue the Change of Plea

 Hearing Date set on Tuesday, May 22, 2018. For good cause shown, the Court hereby GRANTS the

 Defendant’s motion.

        This matter is hereby reset for Change of Plea on the 3rd day of July, 2018 at 9:00 A.M.

        IT IS SO ORDERED this 21st day of May, 2018.




                                                     s/S. Thomas Anderson
                                                     S. THOMAS ANDERSON
                                                     Chief Judge, United States District Court



                                                     DATE: 5/21/2018
